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 1   Dustin D. Johnson (SBN: 234008)
     The Law Offices of Dustin D. Johnson
 2   2701 Del Paso Road, Suite 130-155
     Sacramento, CA 95835
 3   Phone: (877) 377-8070
     Fax: (916) 244-9889
 4
 5   Attorney for Beshiba Cook

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 7
 8                                  UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10
11   United States of America,                     No. 2:12-CR-169-MCE-11
12                     Plaintiff,
13           v.                                    STIPULATION REGARDING
                                                   EXCLUDABLE TIME PERIODS UNDER
14   Beshiba Cook,                                 SPEEDY TRIAL ACT; ORDER
15                     Defendant.
16
17                                          STIPULATION

18   1.      By previous order, this matter was set for status on October 1, 2015.

19   2.      By this stipulation, defendant Beshiba Cook, by and through her undersigned

20           counsel, now moves to continue the status conference until January 14, 2016, at

21           9:00 a.m., and to exclude time between October 1, 2015 and January 14, 2016,

22           under Local Code T4.

23   3.      The parties agree and stipulate, and request that the Court find the following:

24           a)    The government has represented that the discovery associated with this

25                 case includes approximately 2590 pages of investigative reports and

26                 related documents and recordings of thousands of wiretap calls. All of this

27                 discovery has been produced directly to counsel.

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 1            b)    Counsel for defendant desires additional time to consult with his client,
 2                  conduct investigation and research, review discovery, and to discuss
 3                  potential resolution with his client.
 4            c)    Counsel for defendant believes that failure to grant the above-requested
 5                  continuance would deny counsel the reasonable time necessary for
 6                  effective preparation, taking into account the exercise of due diligence.
 7            d)    The United States does not object to the continuance.
 8            e)    Based on the above-stated findings, the ends of justice served by
 9                  continuing the case as requested outweigh the interest of the public and
10                  the defendant in a trial within the original date prescribed by the Speedy
11                  Trial Act.
12            f)    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
13                  3161, et seq., within which trial must commence, the time period of
14                  October 1, 2015 and January 14, 2016, inclusive, is deemed excludable
15                  pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
16                  results from a continuance granted by the Court at defendant’s request on
17                  the basis of the Court’s finding that the ends of justice served by taking
18                  such action outweigh the best interest of the public and the defendant in a
19                  speedy trial.
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 1   4.      Nothing in this stipulation and order shall preclude a finding that other provisions
 2           of the Speedy Trial Act dictate that additional time periods are excludable from the
 3           period within which a trial must commence.
 4
 5   IT IS SO STIPULATED.
 6   Dated: September 29, 2015                         /s/ Dustin D. Johnson
                                                       DUSTIN D. JOHNSON
 7                                                     Counsel for Defendant
                                                       Beshiba Cook
 8
 9   Dated: September 29, 2015                         BENJAMIN B. WAGNER
                                                       United States Attorney
10
11                                                     /s/ Jason Hitt (approved via email)
                                                       Jason Hitt
12                                                     Assistant United States Attorney
13
14                                              ORDER
15           IT IS SO ORDERED.
16   Dated: October 7, 2015
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